              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF IOWA
                        WESTERN DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                         No. 03-CR-4005-DEO
vs.                                                  ORDER
BRUCE GEORGE LEGEAR,
           Defendant.
                        ____________________

                 I.    INTRODUCTION AND BACKGROUND

      This matter is before the Court pursuant to “Report and

Recommendation    On   Petition    To    Revoke   Supervised       Release”

(Docket No. 281, 02-12-2009) issued by Chief United States

Magistrate Judge Paul A. Zoss.          The report and recommendation

states:

          The parties announced they have reached an
          agreement   regarding    the   Government’s
          petition to revoke LeGear’s term of
          supervised release.      The parties have
          agreed that the petition should be granted,
          LeGear’s term of supervised release should
          be revoked, and he should be sentenced to
          twelve months and one day in prison, with
          no further term of supervision following
          his release. The court will engage in the
          required analysis to determine whether the
          parties’ agreement is acceptable under the
          applicable statutes.

      As defendant LeGear stipulated and admitted to the all of

the violations alleged in the petition for revocation, Chief



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U.S. Magistrate Judge Zoss found by a preponderance of the

evidence that the defendant violated a condition of his

supervised release.         (Report and Recommendation, p. 2).

      After finding a violation, 18 U.S.C. § 3583(3) requires

the court to consider certain specified factors set forth in

18 U.S.C. § 3553(a) to determine if defendant’s term of

supervised release should be terminated, extended, modified,

or revoked; these specified factors consist of (A) Nature and

circumstances of offense; (B) Deterrence of criminal conduct;

(C)   Protection      of    the    public   from       further      crimes;    (D)

Defendant’s    need    for       educational      or   vocational      training,

medical care, or other correctional treatment in the most

efficient    manner;       (E)    Sentencing      considerations;       and    (F)

Sentencing disparities.

      After Chief U.S. Magistrate Judge reviewed each factor,

the following recommendation was set forth:

            Upon consideration of all of the above
            factors, the court finds LeGear’s term of
            supervised release should be revoked. The
            court further recommends the district court
            accept the parties’ agreement and sentence
            LeGear to twelve months and one day in
            prison with no further term of supervision
            following his release.



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                               II.   ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).           Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).




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                             III.     CONCLUSION

      Chief      United    States     Magistrate      Judge     Paul     A.    Zoss

concluded the report and recommendation as follows:

             Based upon the foregoing analysis, IT IS
             RESPECTFULLY RECOMMENDED, unless any party
             files objections to this Report and
             Recommendation,   that   the   Government’s
             motion to revoke LeGear’s supervised
             release be granted, and LeGear be sentenced
             as set forth above.

      On February 12, 2009, defendant LeGear, through counsel,

filed “Defendant LeGear’s Report To The Court Regarding Report

And     Recommendation”      (Docket        No.    282),    which       indicates

defendant has no objection to the Report and Recommendation.

      The Court recognizes that defendant LeGear has waived any

objections, and it appears to the Court upon review of Chief

Magistrate Judge Zoss’s findings and conclusions that there

are no grounds to reject or modify them.

      IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief      Magistrate     Judge     Zoss’s   Report      and    Recommendation

(Docket No. 281).

      IT    IS   FURTHER    HEREBY     ORDERED     that     the      Government’s

petition to revoke is granted.




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    IT IS FURTHER HEREBY ORDERED that defendant Bruce George

LeGear shall be sentenced as set forth herein and as agreed to

by the parties, to twelve months and one day in prison with no

further term of supervision following his release.

    IT IS FURTHER HEREBY ORDERED that to effectuate this

ruling, the United States Probation Office shall prepare a

revocation judgment which will fully set forth the term of

incarceration and all other relevant revocation matters not

referenced herein.

    IT IS SO ORDERED this 20th day of February, 2009.


                                 __________________________________
                                 Donald E. O’Brien, Senior Judge
                                 United States District Court
                                 Northern District of Iowa




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